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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division
__________________________________________
                                            )
CARLOS ALEXIS MARTINEZ GARCIA,              )
                                            )
      Plaintiff,                            )
                                            )
              v.                            )
                                            )      Civ. No: 1:20-cv-945
MEGA AUTO OUTLET, et al.                    )
                                            )
      Defendants.                           )
__________________________________________)


      MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR DEFAULT
           JUDGMENT AS TO DEFENDANT MEGA AUTO OUTLET

                                           Introduction

       The Plaintiff, Mr. Garcia, filed a complaint on August 18, 2020, seeking to remedy a fraud

committed against him when he was tricked by a car dealer, Defendant Mega Auto Outlet, during

the purchase of a car on credit. Defendant falsified the consumer’s signature on a buyers order and

a retail installment contract and security agreement and sold that forged credit contract to an

assignee. The Defendant unilaterally changed the terms of a deal from 18 monthly payments of

$338.41 to 48 monthly payments of $338.41 and then placed the Mr. Garcia’s electronic signature

on that contract without Mr. Garcia’s consent. Furthermore, the Defendant falsified the source of

the $3,000 that it had given the consumer for a trade-in and then requested the consumer to lie to

the assignee and say that he had paid $3,000 cash instead of trading a vehicle in. This blatant fraud

violated the Federal Truth In Lending Act (“TILA”), the Equal Credit Opportunity Act (“ECOA”),

and the Virginia Consumer Protection Act (“VCPA”) and constitutes common-law fraud. The

Defendant did not file an answer or other responsive pleading to the properly served complaint.

(Dkt. 8). The Plaintiff now seeks a default judgment in order to recover statutory damages, punitive


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damages, and attorneys’ fees and costs. Mr. Garcia has resolved his claims with Westlake Services,

LLC., the other defendant who was the assignee of Mega Auto Outlet’s rights in the transaction,

and whose liability was always capped at the amount paid in that transaction. The only remaining

claims are against Mega Auto Outlet for its own conduct. Plaintiff seeks judgment in the amount

of $102,317.12.

                                             Argument

   I.      The Court has jurisdiction to render a default judgment in this case.

        For a court to render a default judgment, it must have both subject-matter jurisdiction

over the Plaintiff’s claims and personal jurisdiction over the defaulting party. Dutan v. Sheet

Metal remodeling, LLC, 48 F. Supp. 3d 860, 866 (E.D. Va. 2014). Both are satisfied here.

        A. The Court has subject matter jurisdiction over Plaintiff’s claims.

        This Court has subject matter jurisdiction over this action pursuant to the TILA, 15 U.S.C.

§ 1640, the ECOA 15 U.S.C. § 1691e, and 28 U.S.C. §§ 1331, 1343(a)(3). Supplemental

jurisdiction of the state law claims under the VCPA and common-law fraud that arise out of the

same transactions and events is provided under 28 U.S.C § 1367.

        B. The Court has personal jurisdiction over the Defendant Mega Auto Outlet.

        This Court also has personal jurisdiction over the Defendant. For a federal court to have

personal jurisdiction over a defendant, the defendant must be subject the personal jurisdiction of

the state in which the federal court sits. Exercise of personal jurisdiction must also satisfy the

minimum-contacts test under the Due Process Clause of the Fourteenth Amendment. See Int’l

Shoe Co. v. Washington, 326 U.S. 310, 316 (1945).

        Defendant Mega Auto Outlet is a Virginia limited liability company with its principal

place of business at 3335 Jefferson Davis Highway in Stafford, Virginia. Virginia’s personal




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jurisdiction statute authorizes jurisdiction over anyone who transacts business in Virginia. See

Va. Code § 8.01-328.1. The Due Process Clause authorizes jurisdiction over anyone who resides

in the forum state. See Int’l Shoe, 326 U.S. at 316. Mega Auto Outlet is a Virginia limited

liability company with its principal place of business in Stafford Virginia. (Dkt. 1 at ¶ 5). The

fraudulent vehicle sale that is the subject of Mr. Garcia’s complaint took place at the Defendant’s

car lot in Stafford, Virginia. (Dkt. 1 at ¶ 8).

          These contacts satisfy both Virginia’s jurisdictional statute and the Constitution, and thus

the Court has personal jurisdiction over the Defendant.

          C. Venue is proper in this judicial district.

          Venue is proper in this judicial district because the Defendant is headquartered in this

district and the fraudulent vehicle sale that gave rise to the complaint occurred in this district.

    II.      The Defendant was properly served and has failed to file an answer or a

             responsive pleading.

          Under Rule 55 of the Federal Rules of Civil Procedure, if a defendant fails to plead or

otherwise respond to a properly filed and served lawsuit, the plaintiff may seek a default

judgment. The facts regarding Defendant Mega Auto Outlet’s failure to respond to this lawsuit

are established in the Affidavit of Attorney Kelly Salzmann. (Dkt. 7-1). The Plaintiff, Mr.

Garcia, filed a complaint against Defendant Mega Auto Outlet on August 18, 2020 1. (Dkt. 1).

Defendant did not file an answer or responsive pleading to the Notice of Lawsuit and Request to

Waive Service of a Summons (Dkt. 7-2) or the properly served complaint. (Dkt. 4). The Clerk of

Court entered the default of Defendant Mega Auto Outlet on December 7, 2020, following Mr.




1
 Mr. Garcia’s complaint also named Westlake Services, LLC, as a defendant. (Dkt. 1) At Mr. Garcia’s request, this
Court dismissed with prejudice Defendant Westlake Services, LLC, from the action on December 7, 2020. (Dkt. 9)


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Garcia’s request. (Dkt. 8). Therefore, a default judgment is appropriate in this case pursuant to

Rule 55 of the Federal Rules of Civil Procedure.

          Because the Defendant opted not to respond, all of the factual allegations in Mr. Garcia’s

properly filed and served complaint are deemed admitted. Dutan, 48 F. Supp. 3d at 865-66

(citing Fed. R. Civ. P. 8(b)(6)). The remaining inquiries for this Court are whether the facts as

alleged state a claim and, if so, to determine the amount of damages. Id. The Plaintiff also offers

a sworn declaration from July 20, 2020 as further evidence. (Exhibit A). As set forth below,

Plaintiff has narrowed the requests under each of the four claims to avoid any possibility of a

duplicative award.

   III.      The admitted facts establish each element of the asserted claims such that

             default judgment of $102,317.12 should be entered.

             A. The admitted facts establish the TILA claim as well as Defendant’s liability

                 for statutory damages, costs, and attorneys’ fees.

          The core idea of the TILA is that truth matters and that by requiring creditors to give

customers true information as a part of credit transactions “economic stabilization would be

enhanced and the competition among the various [creditors] would be strengthened.” 15 U.S.C. §

1601. When Mega Auto Outlet withheld the truth about the terms of the transaction Mr. Garcia

entered into with them, they not only harmed Mr. Garcia, but they also harmed the economy

when they took him out of the marketplace where honest car dealers and creditors could fairly

compete for his business. As a remedial statute, the TILA “is to be liberally construed in favor of

the consumer.” Layell v Home Loan and Inv. Bank, F.S.B., 244 B.R. 345, 350 (E.D. Va. 1999)

(citing Fairley v. Turan-Foley Imports, Inc., 65 F.3d 475, 479 (5th Cir. 1995)).




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       On the admitted facts, Mega Auto Outlet is a “creditor” who assigned a fraudulent credit

deal to Westlake Services LLC in this transaction. 15 U.S.C. § 1602(g) (see Dkt. 1, ¶¶ 5, 11, 15,

49-56; Dkt. 1-4). As a creditor, Mega Auto Outlet was required to provide Mr. Garcia with the

truth, in writing, about the material terms of the contract they had entered into – including basic

items such as the annual percentage rate and the total, number, and amount of the payments he

would have to make. 15 U.S.C. § 1638(a). The required disclosures were required to be made in

writing, in a form that Mr. Garcia could keep, before the deal was finalized. 15 U.S.C. §

1638(b)(1); 12 C.F.R. § 1026.17(a)(1). Mega Auto Outlet never provided to Mr. Garcia the

required disclosures of either the credit transaction he understood he entered into, or the

fraudulent transaction that Mega Auto Outlet unilaterally created. (Dkt. 1, ¶¶ 11, 15, 17 – 26). In

fact, the first time Mr. Garcia saw any TILA disclosures was when the RISC for the fraudulent

transaction was provided by Westlake Services LLC on July 6, 2020. (Dkt. 1, ¶ 49). Therefore,

Mega Auto Outlet violated the TILA and Regulation Z by failing to properly deliver any

disclosures as required by the TILA, 15 U.S.C. § 1638, and Regulation Z, 12 C.F.R. § 1026.17.

       The violation of the TILA denied Mr. Garcia the true information about the credit

transaction that he needed to determine whether to accept it or not. Mr. Garcia suffered harm

directly caused by the TILA violation because he then had a financial institution demanding he

pay money under terms he never saw. He was forced to lose time when he called Westlake

Financial. (Dkt. 1, ¶ 38). He then again suffered harm when again he wasted time and gas driving

back to the Defendant’s car lot in order to talk to someone to try and understand why the

payments he was being requested to make were not the ones that he agreed to. (Dkt.1, ¶ 40). Mr.

Garcia is entitled to statutory damages that are “twice the amount of any finance charge in

connection with the transaction” and cannot be “less than $200 nor greater than $2,000.” 15




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U.S.C. § 1640(a)(2)(A). The finance charge listed by Mega Auto Outlet on the fraudulent credit

contract is $4828.91. (Dkt. 1-4). Twice that amount is $9,657.82. Consequently, Mr. Garcia’s

statutory damages recovery is the upper $2,000 limit for Mega Auto Outlet’s violation of the

TILA. Mr. Garcia is also entitled to “the costs of the action, together with a reasonable

attorney’s fee as determined by the court.” 15 U.S.C. § 1640(a)(3).

           B. The admitted facts establish each element of the ECOA claim as Defendant’s

               liability for statutory punitive damages, costs, and attorneys’ fees.

       Like the TILA, Congress passed the ECOA to promote a healthy economy in the United

States. 15 U.S.C. § 1691 note (“Economic stabilization would be enhanced and competition

among various [creditors] … by the informed use of credit which Congress has heretofore sought

to promote.”) Again, when Mega Auto Outlet withheld the truth about the credit it extended to

Mr. Garcia, they not only harmed Mr. Garcia, but it also harmed the economy when it took him

out of the marketplace where honest car dealers and creditors could fairly compete for his

business. The ECOA is a remedial statute that should be liberally construed in favor of

consumers to effectuate the underlying Congressional purpose. Silverman v. Eastrich Multiple

Investor Fund, L.P., 51 F.3d 28, 33 (3d Cir. 1995) (noting the broad remedial provisions in the

ECOA). The ECOA notice requirement is a necessary component because “only if creditors

know that they must explain their decisions will they effectively be discouraged from

discriminatory practices.” Cross v. Prospect Mortgage, LLC, 986 F.Supp.2d 688, 691 (E.D. Va.

2013)(quoting Diaz v. Virginia Hous. Dev. Auth., 117 F.Supp.2d 500, 504 (E.D. Va. 2000)

(quoting Jochum v. Pico Credit Corp., 730 F.2d 1041, 1043 (5th Cir. 1984))).

       The facts show that Mega Auto Outlet is a “creditor” who assigned a fraudulent credit

deal to Westlake Services LLC in this transaction for purposes of the ECOA. 15 U.S.C. §




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1691a(e) (see Dkt. 1, ¶¶ 5, 11, 15, 49-56; Dkt. 1-4). As a creditor, Mega Auto Outlet was

required to provide Mr. Garcia with notice of the action taken on his application for credit within

30 days after receipt of the application. 15 U.S.C. § 1691(d)(1); 12 C.F.R. § 202.9(a)(1).

Specifically, if it was an adverse action, the notice must be a written statement that provides the

“specific reasons for the adverse action taken.” 15 U.S.C. § 1691(d)(2), (3); 12 CFR §

202.9(a)(2). Notice of approval can be expressly in writing or by implication shown by the

conduct of the creditor in giving the requested property. See Official Interpretation of Regulation

B, 12 CFR § 202.9- Paragraph 9(a)(2). Under the admitted facts, Mega Auto Outlet both

provided a false notice of approval and also failed to provide an adverse action notice after

altering the agreed terms. (Dkt. 1, ¶¶ 65 and 67).

       When the claim is for failure to provide a proper adverse action notice, courts have

“identified the following four elements: 1) defendant must be a ‘creditor,’ 2) plaintiff must be an

“applicant” who submitted an ‘application for credit,’ 3) an ‘adverse action’ must have occurred

with respect to plaintiff's credit application, and, 4) defendant must have failed to provide

plaintiff with written notification of the reasons for the adverse action.” Cross, 86 F.Supp.2d at

691 (citing Madrigal v. Kline Oldsmobile, Inc., 423 F.3d 819, 822 (8th Cir. 2005); Treadway v.

Gateway Chevrolet Oldsmobile Inc., 362 F.3d 971, 978 (7th Cir. 2004)). For providing an

inaccurate notice of approval, the last two elements change to 3) The defendant provided notice

of approval, and 4) Defendant did not actually approve those terms.

       When Mr. Garcia made the car purchase on January 27, 2020, he was told by Mega Auto

Outlet that he had a final agreement for a purchase price of $7,999 with a trade-in of $3,000 and

financing with payments of $348 over a period of 18 months. (Dkt. 1, ¶¶ 11, 14-15, 36). Mega

Auto Outlet thus misrepresented that Mr. Garcia’s application for credit had been approved on




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these terms when it knew that it would not actually accept those terms. (Dkt. 1, ¶¶ 36, 40, 65).

Mr. Garcia later received a statement from Westlake Services LLC that showed amounts

different from the deal he understood he had entered into. (Dkt. 1, ¶¶ 37-38). Therefore, a false

notice of approval was provided. Then, the reality was that Mega Auto Outlet changed those

terms and placed his name on a credit contract with different terms; it never gave him the written

adverse notice the ECOA requires about these more adverse terms. Actually, it refused to give

him any documentation regarding the credit terms which were quite clearly the only ones that

Mega Auto Outlet was willing to consider. (Dkt. 1, ¶¶ 39-43). Therefore, Mega Auto Outlet

violated the ECOA and Regulation B by not providing Mr. Garcia with proper notice of the

action taken regarding his credit application, both by its false notice of approval and its failure to

provide an adverse action notice. 15 U.S.C. § 1691(d); 12 C.F.R. § 202.9.

       The violation of the ECOA denied Mr. Garcia the informed use of credit that Congress

sought to promote. 15 U.S.C. § 1691 note. Mr. Garcia suffered harm directly caused by the

ECOA violation because he was confused about what happened to the deal he thought he had

and was, therefore, forced to lose time when he called Westlake Financial. (Dkt. 1, ¶ 38). He

then again suffered harm when again he wasted time and gas driving back to the Defendant’s car

lot in order to talk to someone to try and understand why the payments he was being requested to

make were not the agreed ones; he was then denied access to the critical information he

requested. (Dkt.1, ¶ 39-43).

       Mr. Garcia is entitled to statutory punitive damages under the ECOA. 15 U.S.C. §

1691e(b) (“Any creditor … who fails to comply with any requirement imposed under this

subchapter shall be liable to the aggrieved applicant for punitive damages in an amount not

greater than $10,000…”) In determining the amount of these statutory damages, the Court should




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consider five statutory factors: “the amount of any actual damages awarded, the frequency and

persistence of failures of compliance by the creditor, the resources of the creditor, the number of

persons adversely affected, and the extent to which the creditor’s failure of compliance is

intentional.” Id. Regarding the first factor, the Complaint identifies that Mr. Garcia was harmed,

and he has settled with Westlake Services, LLC., the other defendant who was the assignee of

Mega Auto Outlet’s rights in the transaction, whose total liability was capped at the amounts

paid. By failing to participate in this lawsuit, the Defendant prevented Mr. Garcia from obtaining

evidence of the second, third, and fourth factors. Regarding the fifth factor, the facts show that

Mega Auto Outlet’s actions in violation of the ECOA were clearly intentional. First, Mega Auto

Outlet led Mr. Garcia to believe that he had a deal on terms that it knew were not final. (Dkt. 1,

¶¶ 11, 15, 36, 40, 65). Further, Mega Auto Outlet did not send Mr. Garcia the required adverse

notice and willfully concealed that it had changed the terms of the deal when it denied Mr.

Garcia the documents about the credit transaction when he specifically requested them. (Dkt. 1,

¶¶ 39-43, 65, 67).

       Mr. Garcia is the client of the non-profit Legal Aid Justice Center, that provides services

to low-income people who otherwise cannot afford legal services. Mega Auto Outlet clearly took

advantage of Mr. Garcia’s financial vulnerability. In addition, the conduct not only involved not

providing the adverse notice, but Mega Auto Outlet flatly refused even to provide the documents

showing the terms of the new deal. (Dkt. 1, ¶¶ 39-43, 65, 67). By repeatedly refusing, even when

asked, to provide Mr. Garcia the documents detailing the changed terms, the Defendant’s actions

were repeated and the harm was the result of “intentional malice, trickery or deceit.” Saunders v.

Branch Banking & Trust Co. of Va., 526 F.3d 142, 152 (4th Cir. 2008).




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        Although these are essentially statutory damages with a relatively low cap, Congress did

 call them punitive damages. The Fourth Circuit has stated that punitive damages generally

 should fall within a single digit ratio. Id. at 154. The original terms of the oral agreement, which

 Mega Auto Outlet misrepresented as the final agreement, was for payments totaling $9,264.

 (Dkt. 1, ¶ 11, 15, 65). When Mega Auto Outlet changed the terms of the deal without Mr.

 Garcia’s knowledge or consent and without providing him the required adverse action notice, the

 total of the payments increased to $19,243.68. (Dkt. 1, ¶ 49-55; Dkt. 1-4). Through its willful

 non-compliance with the ECOA, Mega Auto Outlet caused significant potential harm when it

 sought to have Mr. Garcia pay an additional $9,979.68 for the vehicle purchase. An award of the

 $10,000 punitive damages cap under ECOA would be approximately a 1:1 ratio, a ridiculously

 low single digit ratio to the harm that Defendant sought to cause.

        This intentional wrongdoing justifies the maximum cap of $10,000.00 for these statutory

 damages. This amount is consistent with the statutory scheme laid out in ECOA and is not

 “constitutionally excessive.” Id. at 154. Mr. Garcia is therefore, entitled to the maximum

 statutory damages of $10,000 authorized under 15 U.S.C. § 1691e(b). Mr. Garcia is also entitled

 to “the costs of the action, together with a reasonable attorney’s fee as determined by the court.”

 15 U.S.C. § 1640(a)(3).

            C. The admitted facts establish each element of the fraud claim as well as

                Defendant’s liability for that claim.

        To bring a fraud claim, Mr. Garcia “bears the burden of proving by clear and convincing

 evidence: (1) a false representation, (2) of material fact, (3) made intentionally and knowingly,

 (4) with the intent to mislead, (5) reliance by the party misled and (6) resulting damage to the

 party misled.” Evaluation Research Corp., et al. v. Alequin, 247 Va. 143 (1994) (internal




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 citations omitted). Because the factual allegations regarding Mega Auto Outlet’s fraud are

 deemed admitted by Mega Auto Outlet’s failure to respond, see Dutan, 48 F. Supp. 3d at 865-66

 (citing Fed. R. Civ. P. 8(b)(6)), they are necessarily established by clear and convincing

 evidence.

        The clear and convincing evidence shows that Mega Auto Outlet falsified a buyer’s order

 and a credit contract with terms never agreed to by Mr. Garcia. (Dkt. 1, ¶¶ 21-24, 26-29, 44-55;

 Dkt. 1-3; Dkt. 1-4). Mega Auto Outlet created a false representation of material fact when it

 knowingly and intentionally concealed from Mr. Garcia the material term, among other terms,

 that the falsified buyers order had a purchase price of $12,702.04 or $4703.04 over the price that

 Mega Auto Outlet had advertised, and that Mr. Garcia had agreed to. (Dkt. 1, ¶¶ 9, 15, 36, 48;

 Dkt. 1-3; Exhibit A). Mega Auto Outlet also concealed from Mr. Garcia the material term,

 among other terms, that the falsified credit contract contemplated payments over 48 instead of 18

 months. (Dkt. 1, ¶¶ 37, 49-51; Dkt. 1-4). Mega Auto Outlet intentionally and knowingly

 concealed the fraudulent documents with a purchase price, number of payments and other terms

 different from those agreed upon and intended that Mr. Garcia rely on misinformation about the

 purchase price of the car and the payment terms and misinformation about the fraudulent

 documents in order to complete a car deal. (Dkt. 1 ¶¶, 9-11, 15-24, 26- 36, 39-42, 74).

        Mr. Garcia reasonably relied on the deal that he had originally agreed to because of Mega

 Auto Outlet’s intentional concealment of information material to the deal in the form of a

 fraudulent buyer’s order and credit contract. (Dkt. 1, ¶ 75, Dkt. 1-3; Dkt. 1-4). As a result of

 Mega Auto Outlet’s false representations and wrongful actions as alleged herein, Mr. Garcia

 suffered actual damages, including loss of time, inconvenience, and other distress. Mr. Garcia

 suffered harm because he was confused about what happened to the deal he thought he had and




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 was, therefore, forced to lose time when he called Westlake Financial. (Dkt. 1, ¶ 38). He then

 again suffered harm when again he wasted time and gas driving back to the Defendant’s car lot

 in order to talk to someone to try and understand why the payments he was being requested to

 make were not the ones that he agreed to only to be denied access to the critical information he

 requested. (Dkt.1, ¶ 39-43).

        Mr. Garcia has already settled with the assignee of Mega Auto Outlet, and he is seeking

 actual damages under the Virginia Consumer Protection Act claim that would be duplicative of

 any actual damages for the fraud. Therefore, the only additional damages under the fraud claim

 are for punitive damages.

        Based on the fraud Mega Auto Outlet committed, this Court should award punitive

 damages to “provide protection of the public, … punishment to [the] defendant, and … a

 warning example to deter him and others from committing like offenses. Coalson v. Canchola,

 287 Va. 242, 249 (2014) (internal citations omitted). An evaluation of the fraud committed by

 the Defendant and the quantum of punitive damages should follow the three guideposts outlined

 by the United States Supreme Court. See State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S.

 408, 418 (2003). When those are applied to Virginia’s standards and to the facts, to deter future

 fraudulent behavior on the part of the Defendant or others, Mr. Garcia should receive

 $89,817.12, or nine times the potential harm amount of $9,919.68.

        The first guidepost outlined by the Supreme Court – the degree of reprehensibility of the

 defendant’s misconduct – weighs in favor a significant award of punitive damages. Mr. Garcia is

 a financially vulnerable man who Mega Auto Outlet intentionally defrauded in order to charge

 him over twice the amount originally agreed. (Dkt. 1, ¶¶ 11, 15, 49-55, 65; Dkt. 1-4). Mega Auto

 Outlet committed this fraud by creating a buyer’s order and credit contract and placing




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 Mr.Garcia’s name on those documents without his knowledge or consent. (Dkt. 1, ¶¶ 21-24, 26-

 29, 44-55; Dkt. 1-3; Dkt. 1-4). Mega Auto Outlet doubled down on the fraud when Mr. Garcia

 asked for the documents of the deal he had never seen and Mega Auto Outlet refused to provide

 them. (Dkt. 1, ¶¶ 41-42). Clearly, Mega Auto Outlet’s conduct targeted a man who “had

 financial vulnerability, the conduct involved repeated actions …; and the harm was the result of

 intentional malice, trickery, or deceit …” State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S.

 at 419.

           Turning to the second and third guideposts, “the Supreme Court has repeatedly stated that

 ratios between actual or potential harm and punitive damages should generally be within single

 digits to satisfy due process requirements.” Coalson v. Canchola, 287 Va. at 249 (citing State

 Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. at 425). Higher ratios may be constitutional

 “where a defendant’s actions are exceptionally reprehensible but result in small economic

 damage.” Id. In this case, Plaintiff asks for single digit punitive damages for the fraud claim of

 1:9. Given the reprehensibility of fraudulently placing Mr. Garcia’s signature on two documents

 in order to charge him more than double the total price he agreed on, this is a situation where a

 1:9 damage ratio is warranted. That ratio is far less than 1:25 ratio that supported a $100,000

 punitive damages award in a Virginia case involving auto fraud. Wilkins v. Peninsula Motor

 Cars, Inc., 266 Va. 558, 562-63 (2003) (upholding actual damages of $4,000 and punitive

 damages of $100,000 because a car dealer intentionally misrepresented a used car as new).

 Therefore, Mr. Garcia asks this Court to award $89,817.12 in punitive damages.

              D. The admitted facts establish each element of the Virginia Consumer

                  Protection Act (VCPA) claim as well as Defendant’s liability for costs, and

                  attorneys’ fees.




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         Any person who has suffered a loss as a result of a violation of the Virginia Consumer

 Protection Act (VCPA) may recover “actual damages.” Va. Code § 59.1-204(A). The term

 “actual damages” in the VCPA is to be interpreted broadly to achieve its remedial goal. The

 statutes passed by the General Assembly must be read so as to “promote the ability of the

 enactment to remedy the mischief at which it is directed.” Natrella v. Board of Zoning Appeals,

 231 Va. 451, 461, 345 S.E.2d 295, 301 (1986) (quoting Jones v. Conwell, 227 Va. 176, 181, 314

 S.E.2d 61, 64 (1984)). As expressly stated, the VCPA “is remedial legislation to promote the

 fair and ethical standards of dealings between suppliers and the consuming public.” Va. Code §

 59.1-197. “Further, it is a universal rule that statutes . . . which are remedial in nature, are to be

 ‘construed liberally, so as to suppress the mischief and advance the remedy,’ as the legislature

 intended.” Board of Sup. v. King Land Corp., 238 Va. 97, 103, 380 S.E.2d 895, 898-89

 (1989)(citing Shumate’s Case, 56 Va. (15 Gratt.) 653, 661 (1860)); see also Bowman v.

 Commonwealth, 201 Va. 650, 112 S.E.2d 887 (1960); 17 Michie’s Jurisprudence, Statutes, § 72.

 The damages recoverable under the VCPA include both out of pocket expense, and also distress

 and inconvenience damages, Barnette v. Brook Road, 429 F. Supp. 2d 741, 751-52 (E.D. Va.

 2006) (see also See Ches. & Pot. Tel. Co. v. Carless, 102 S.E. 569, 571-72 (Va. 1920)

 (reaffirmed in Sea-Land Service Inc. v. O’Neal, 297 S.E.2d 647, 653 (Va. 1982)).

         The VCPA prohibits suppliers from “advertising goods or services with the intent not to

 sell them as advertised, or with intent not to sell at the price or upon the terms advertised. Va.

 Code § 59.1-200(A)(8). Refusing to sell goods on the terms originally offered or advertised is

 “prima facie evidence of a violation” of the VCPA. Id. The evidence shows that Mega Auto

 Outlet advertised the vehicle Mr. Garcia purchased for $7,999 and that this was the price

 originally agreed upon by the parties for the purchase of the vehicle. (Dkt. 1, ¶¶ 7, 9, 15, 36;




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 Exhibit A). Mega Auto Outlet’s refusal to honor the originally advertised price is prima facie

 evidence of a violation of the VCPA. Va. Code § 59.1-200(A)(8) (see also Dkt. 1, ¶¶ 40, 48; Dkt.

 1-3). Mr. Garcia suffered harm when he wasted time and gas driving back to the Defendant’s car

 lot in order to talk to someone to try and understand why the terms of the deal he struck had

 changed. (Dkt.1, ¶¶ 39-43).

        Although the evidence shows that Mega Auto Outlet’s actions were willful, Mr. Garcia

 will not request the enhanced damages of “an amount not exceeding three times the actual

 damages sustained, or $1,000, whichever is greater.” Va. Code § 59.1-204(A). As identified in

 the footnote in Wilkins, 266 Va. at 562, whether such enhanced damages are duplicative of

 punitive damages for fraud has not yet been decided in the Commonwealth. Thus, Plaintiff will

 only seek actual damages under the VCPA claim. Because Plaintiff did not seek actual damages

 under any of the claims, this one award will not be duplicative of any other amounts sought.

        As for the quantum of the actual damages to be awarded Plaintiff, he will instead accept

 the minimum VCPA actual damages remedy of $500 as set forth in Va. Code § 59.1-204(A). The

 Complaint identifies that he was harmed, and he has settled with a Defendant whose total

 liability was capped at the amounts paid. Consequently, although the damages prior to filing the

 Complaint were necessarily the economic harm of harm amount of $9,919.68, plus his lost time

 and inconvenience, for this default judgment Plaintiff will ask that he merely be given the

 minimum actual damages set forth by law. Therefore, Mr. Garcia requests $500 in damages due

 to Mega Auto Outlet’s violation of the VCPA. Mr. Garcia is also entitled to “reasonable

 attorneys’ fees and court costs.” Va. Code § 59.1-204(B).

            E. Attorney’s Fees and Costs




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        Finally, prevailing plaintiffs under the TILA, ECOA, and VCPA are entitled to their

 reasonable attorney’s fees and the costs of the suit. 15 U.S.C. § 1640(a)(3); 15 U.S.C. §

 1640(a)(3); Va. Code § 59.1-204(B); 29 U.S.C. 216(b). Plaintiff therefore will file a Motion for

 an award of attorney’s fees and costs within the time provided by Federal Rule 54.

                                        Request for Judgment

        For the foregoing reasons, we respectfully request judgment for the Plaintiff, Carlos

 Martinez Garcia, for the following relief:

        1. An award for the Plaintiff in the amount of $102,317.12 as follows:

                a. $2,000 in statutory damages under the TILA;

                b. $10,000 in punitive damages under the ECOA;

                c. $89,817.12 in punitive damages for the fraud claim; and

                d. $500 in actual damages for the VCPA claim.

        2. A finding that Plaintiff is a prevailing party and entitled to attorneys’ fees and costs;

        3. Any other relief the Court deems just and proper.




        Respectfully submitted,

        Carlos Alexis Martinez Garcia


        By: _____________//s//________________                Date: January 29, 2021
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 29th day of January, 2021, I will serve by first class mail a

 copy of the foregoing Memorandum in Support of Plaintiff’s Motion for Default Judgment and

 attachments on Defendant Mega Auto Outlet at the following address:



                          Mega Auto Outlet
                          Attn: Rukhsana Akbar
                          3335 Jefferson Davis Highway
                          Stafford, VA 22554




                                               By:            /s/
                                               Kelly Poff Salzmann (VSB No. 73884)
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                                               Date: January 29, 2021




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